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         Secretary of State Marco Rubio Remarks to the
         Press
         REMARKS

         MARCO RUBIO, SECRETARY OF STATE
         EN ROUTE MIAMI, FLORIDA

         MARCH 28, 2025




     QUESTION: Can I ask a non-trip question, because I want to know what’s happening with this
     Ukrainian children grant.

     SECRETARY RUBIO: Grant?

     QUESTION: The Ukrainian children who —

     SECRETARY RUBIO: Oh, the data. The data is secured. We secured the data. We’ll transfer it to
     the appropriate party. We’ve ensured that. And we’ll be able to say that next week. We already
     notified that. If we haven’t, we’re about to notify Congress. I think we’ve gotten some letters.

     QUESTION: Yeah.

     SECRETARY RUBIO: So there’s no danger to the data that’s been collected on that.

     QUESTION: But is the program back on?


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     SECRETARY RUBIO: No, no, the program we’re not – the program is not funded. It was part of
     the reductions that were made, but we secured the data and we’ve ensured that we have it and it
     can be transferred to any appropriate authorities, and we’ll issue a congressional – I don’t know if
     it’s a notification or just responses to the letters they’ve written us.

     QUESTION: This is the Conflict Observatory?

     SECRETARY RUBIO: Yes.

     QUESTION: How is the —

     SECRETARY RUBIO: You’re not going to hit me with that mike like the President got hit?
     (Laughter.) Okay.

     QUESTION: And when you were answering the – Mr. Secretary, earlier, you said 300 visas? It’s
     actually —

     SECRETARY RUBIO: Well, the —

     QUESTION: Are they all student visas or —

     SECRETARY RUBIO: No, no, no, you guys – you asked – the question was, was there 300? I know
     that number’s been cited. I said it might be more because we’re doing them every day, primarily
     student visas, some visitors visas.

     QUESTION: Okay, so just making sure. Just making sure.

     SECRETARY RUBIO: I don’t know actually if it’s primarily student visas. It’s a combination of
     visas. They’re visitors to the country. If they’re taking activities that are counter to our foreign –
     to our national interest, to our foreign policy, we’ll revoke the visa.

     QUESTION: Are all of those related to pro-Palestinian protests or (inaudible)?

     SECRETARY RUBIO: I’m trying to remember – there’s a lot of them now, because I’ve gone
     through every one of them. I think there might be a few that are not, that are related to other
     groups that are – of people – we’ve also identified – but this actually is – it should be automatically

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     revoked. We’ve also identified people that have criminal charges and even while in the country,
     and still have active visas. Some are unrelated to any protests and are just having to do with
     potential criminal activity.

     QUESTION: (Inaudible.)

     SECRETARY RUBIO: Huh?

     QUESTION: (Inaudible.)

     SECRETARY RUBIO: Yeah, I have to sign every single one.

     QUESTION: And what is the —

     SECRETARY RUBIO: Or the autopen. I’m kidding. No autopen. I’m just joking.

     QUESTION: And what does it mean when you say against the foreign policy of the United States?

     SECRETARY RUBIO: It runs counter to our foreign – that’s how we issue visas coming in. I think
     about it this way. If we knew this information – my standard: If we knew this information about
     them before we gave them a visa, would we have allowed them in? And if the answer is no, then
     we revoke the visa.

     QUESTION: Can I ask you on a different topic, Türkiye? You had the meeting with the foreign
     minister a few days ago. I think yesterday they – yesterday or today they expelled the BBC
     correspondent. They arrested an AP photographer. How concerned are you with how things are
     going there?

     SECRETARY RUBIO: Well, ultimately – and look, we’ve expressed that we’re concerned. We don’t
     like to see the direction that’s going. It’s an ally. It’s a partner in NATO. Anytime you have
     instability on the ground, you don’t like to see it. Obviously, they have internal domestic political
     considerations. We’re not necessarily going to always opine on every single one of them. To the
     extent we have deeper concerns, we expect to express them at least privately at the outset,
     certainly in a new administration when we’re trying to establish relations. But we watch the same
     news reports everybody else sees about what’s going on. We’re certainly concerned about these


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     protests and some of the reports. But we raised that and – but I haven’t seen what – what you
     referenced in the last day, yeah.

     QUESTION: Just on Turkey, in your tweet —

     SECRETARY RUBIO: Türkiye.

     QUESTION: Yes, Türkiye. In your tweet —

     QUESTION: Are you guys going to change that? Are you going to back to Turkey?

     SECRETARY RUBIO: When we’re in Türkiye we’re going to say Türkiye.

     QUESTION: In your tweet, the final sentence is basically about the arrest of Istanbul mayor.
     You’re not saying that explicitly, but those are their (inaudible).

     SECRETARY RUBIO: Well, I mean, and we talked about that. I mean, their argument is that the
     mayor is involved in corruption, that this has been a longstanding issue that it’s finally got acted
     upon, and that he is seeking refuge behind his politics. I don’t know all the facts about it.
     Obviously, that’s not what the mayor is saying or what the political opposition is saying is that this
     is a leader that might have won the election had he been allowed to run.

     So we’re watching it. We’ve expressed concern. We don’t like to see instability like that in the
     governance of any country that’s such a close ally, especially, and it —

     QUESTION: After your post, Turkish diplomatic sources actually denied that this had come up
     and you had expressed your concern. I just wanted to ask you about that.

     SECRETARY RUBIO: Well, I did raise it with the foreign minister, and probably exactly in the
     words that I’m using now, and that is we’re watching these reports and obviously it’s disturbing to
     see, and we talked about it in those terms. But as I said, we don’t like to see that kind of
     instability or these things happening inside countries that we hope to partner with on a bunch of
     things. And President Trump had a very good working relationship with President Erdogan in the
     first administration. I think they would like to restart that. But they’re a NATO ally, and we would
     like to cooperate with them in Syria and in other places. So I think it’s possible to raise concerns


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     and at the same time understand we have a lot of other things to partner on as well. We have –
     that’s the balance of conducting a mature foreign policy.

     QUESTION: Can you speak about the European leaders who said today that they – they oppose
     lifting sanctions on Russia, they don’t think it’s time to do that? Are you all considering that? Can
     you talk about deliberations?

     SECRETARY RUBIO: Well, no, so we met with the Russians. Our team was over there this week.
     They came back and they arrived last night, I think, or early some point yesterday. So we’re going
     to reconvene. I had some calls about it today. We’re sort of going to analyze what they’re – what
     they’re raising and sort of study what exactly it is. It’s a host of sanctions, including sanctions that
     are not American. They’ve raised potentially a couple – my readout of it – they’re not even
     American sanctions, so we couldn’t lift them if we wanted to. We’re going to sort of analyze what
     our team came back with. We’ll present those options to the President. The President will make
     those decisions. We’re not there yet.

     QUESTION: Have you received Iran’s response to the President’s letter?

     SECRETARY RUBIO: Have I what? I’m sorry.

     QUESTION: Received it, Iran’s response.

     SECRETARY RUBIO: Yeah, I’m not going to comment on that yet other than to say the President’s
     letter has been publicly reported. I expect there will be a response, and obviously, at that point,
     the President will decide what steps, if any, he wants to take next.

     QUESTION: Can we go back to visa issue just for a second? I mean, a lot of people feel freedom
     of speech concerns about it. Are you saying that if you come and if you apply for a visa and get a
     student visa and you don’t lie, and you tell the truth and you’re not coming to protest or anything,
     but during the course of your studies, wherever it is in the U.S., you develop views or opinions
     that are at odds with the administration’s foreign policy – say you learn something in your course
     of study that makes you think that what the policy is wrong – and then you protest it or write
     something about it, don’t do anything violent, is that grounds enough to revoke a visa?

     SECRETARY RUBIO: Well, I think there’s a little bit of common sense here. You come to the
     States and then you decide you don’t like those paper straws that some of the stores are selling
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     and you start protesting or complaining about paper straws – I mean, we’re obviously not going
     to yank a visa over that. I think it crosses a line – think about it this way. No one has a right to a
     visa. These are things that we decide. We deny visas every day for all kinds of reasons all over
     the world. We deny visas because we think people might overstay. We deny visas because the
     country they come from are people that historically overstay. We deny visas every day, and we
     can revoke visas. If you have the power to deny, you have the power to revoke.

     I would argue that the – what I would add to it is what we have seen on campuses across the
     country where students literally cannot go to school, you cannot – buildings are being taken over,
     activities going on – this is clearly an organized movement. And if you are in this country on a
     student visa and are a participant in those movements, we have a right to deny your visa. I think
     it would make sense to deny your visa. We’re going to err on the side of caution. We are not
     going to be importing activists into the United States. They’re here to study. They’re here to go to
     class. They’re not here to lead activist movements that are disruptive and undermine the – our
     universities. I think it’s lunacy to continue to allow that.

     QUESTION: So expressing any kind of view —

     SECRETARY RUBIO: And by the way, I’ve been saying that since I was in the Senate. Now I’m just
     in a position to do something about it.

     QUESTION: Mr. Secretary —

     SECRETARY RUBIO: Now that’s a broad thing to say – any kind of views. But when you’re
     aligning yourself with groups that are behind these activities, openly aligning yourself with these
     groups that are behind these disruptive criminal activities in the United States, your visa is going
     to get yanked.

     QUESTION: Mr. Secretary, I don’t —

     QUESTION: Hamas?

     SECRETARY RUBIO: Yeah, there may be others. I mean, if you come here and join Tren de
     Aragua, we’re going to yank your visa too. If —

     QUESTION: Mr. Secretary?
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     SECRETARY RUBIO: And so there may be other movements, but that’s partly the movement
     we’ve seen on college campuses. Let’s be clear: It is a movement that is supportive of the group
     that just slaughtered babies, like deliberately targeted and slaughtered babies and civilians and
     took hostages and killed hostages. That’s the group they’re aligning with.

     But beyond that, they are spray-painting buildings. They are taking over buildings. You must
     have seen these reports in campus after campus where students can’t go to class and can’t
     function and the universities don’t know what to do about it. When you look at it and you realize
     that some of the people involved in this are here on student visas, it’s crazy. We’re not going to
     keep doing that. We’re not. Don’t come here. If you’re going to do that, go somewhere else.
     Don’t come here.

     QUESTION: And I brought up the protests in Hong Kong in 2019, which I covered, because there
     were also shutdowns of college campuses back then. There were foreign students that were
     involved. There was graffiti. They stopped traffic at intersections. They shut down subway
     stations. They were largely peaceful, but there were also these instances that disrupted public
     life and there were foreign students that were involved there. And so, like, under your rationale,
     the Hong Kong authorities or the —

     SECRETARY RUBIO: Well, every country in the world can deny visas to whoever they want. It’s
     that simple. That’s a fact. Whether we like it or not, they can deny visas.

     Number two, that movement was not a movement in favor of a group that slaughtered babies
     and innocents. That’s not what that – that movement, they were people who were complaining
     because there was no democracy, but I mean and they were upset about the direction Hong
     Kong was headed and the Chinese law that was being imposed. But they have – every country in
     the world has a right to deny you a visa. I’m not entitled to a visa. You’re not entitled to a visa.
     Nobody is entitled to a visa in any other country. They can determine it and they can revoke it at
     any time they want.

     Now, let’s – I think it’s important is that there’s a clear distinction between protesting against the
     democratic order and protesting in favor of groups that advocate the slaughter and murder of
     innocent people, which is what many of these groups are supportive of. Beyond that, these
     groups are not just taking over – these are not sit-ins we’re talking about. We are talking about
     buildings that have been vandalized, defaced, that where they – for months on end in some

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     cases. We’re just not going to continue to allow it. I don’t understand what people don’t get. A
     visa is a gift. It’s a voluntary thing. We decide to give you a visa. We deny visas all over the world
     every day for a variety of reasons, and that means we can also revoke those visas. No one is
     entitled to a visa.

     QUESTION: I guess some of the examples have come up like a student at Tufts University, like all
     they did was write an op-ed for the student newspaper advocating for a certain point of view.
     They’re not – as far as we can tell, they haven’t openly advocated for Hamas.

     SECRETARY RUBIO: Well, we will – those – as they go, or if they seek to self-deport they can do
     that, because that’s what we’ve done. We’re basically asking them to leave the country. That’s
     why they’ve been detained. They can do so tomorrow. Buy an airplane ticket and leave. No
     problem.

     QUESTION: Mr. Secretary?

     SECRETARY RUBIO: But I would add to this that I would caution you against solely going off of
     what the media has been able to identify, and those presentations, if necessary, will be made in
     court.

     QUESTION: But for example, in that – the Turkish students, the Tufts student’s case, I asked you
     today did she have – has she committed, like, or has she carried out any of those things that you
     just listed?

     SECRETARY RUBIO: The activities presented to me meet the standard of what I’ve just described
     to you: people that are supportive of movements that run counter to the foreign policy of the
     United States. If necessary and a court compels us, we’ll provide that information. But
     ultimately it’s a visa. Judges don’t issue student visas. There is no right to a student visa. We can
     cancel a student visa under the law just the same way that we can deny a student visa under the
     law. And we will do so in cases we find appropriate.

     The overwhelming majority of student visas in this country will not be revoked, because the
     overwhelming majority of people that are coming to this country to study are not involved and
     associated or aligned with organizations that seek to do damage in this country, and that, frankly,
     organizations that hate the United States Government and hate our way of life. So I just think it’s

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     crazy to continue to provide visas so people can come here and advocate for policies that are in
     direct contradiction of our national interest.

     QUESTION: Right, but are the schools raising these issues with you? Are these – are there out —

     SECRETARY RUBIO: Oh, I’m sure they’re —

     QUESTION: Are these outside groups that they’re raising —

     SECRETARY RUBIO: Oh, I don’t know. I mean, I’m sure they are. I mean —

     QUESTION: Like, how does it come to – come to your desk? Yeah.

     SECRETARY RUBIO: Oh, bringing it to us? Well, we’re not – we’re not going to talk about the
     process by which we’re identifying it because obviously we’re looking for more people.

     QUESTION: Have you seen the video of her being detained?

     SECRETARY RUBIO: I haven’t. But look, detention is simple. Your visa is expired, your visa is
     revoked, you have to leave.

     QUESTION: But it’s six hooded figures with masks on their face who don’t identify themselves
     until they already grabbed her wrist. It’s quite horrifying.

     SECRETARY RUBIO: Yeah, I mean, unfortunately our agents – I mean, I’m not – that’s a DHS or
     ICE, so I don’t know what their practices are. But our agents have had to protect their identity
     because they’ve found themselves targeted – targeted for violence, targeted for operations
     against them. I would say most of these protesters are wearing masks too, and they’re not in law
     enforcement.

     QUESTION: Can I ask you a different topic? U.S.-funded media. Radio Martí is something that I
     believe you’ve supported in the past. What do you think of the cut in funding for that entity?

     SECRETARY RUBIO: Well, first of all, they’re not part of the – they’re not – we don’t control that.
     That’s a separate entity that does it. My understanding is that Martí has actually started
     rebroadcasting today, and a few others. I think the executive order called for them to be – all

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     these agencies to be reduced to the statutory minimum. And I think the goal ultimately over
     time, as I understand it, is to reform these entities so that they provide news that, frankly, favors
     and advances the national interest of the United States. We have plenty of independent media
     outlets, including all of you, and then we are interested in media outlets that present America’s
     point of view from our foreign policy standpoint. And so that review will be ongoing, but
     obviously that’s outside the State Department. I don’t control those.

     QUESTION: What about the cuts (inaudible) —

     SECRETARY RUBIO: I wish I did, though, but I don’t. Not yet, anyway. Maybe we’ll see, but I don’t
     know.

     QUESTION: What about cuts to some of the other programs in Cuba that were supporting
     dissidents, that were supporting political prisoners?

     SECRETARY RUBIO: Yeah, well, some of them were not. Some of them will be restudied over
     time. I think ultimately we’re trying to find programs that are effective. No one’s been —

     QUESTION: But no, it – as you know, there’s (inaudible) in general always in Cuba right now.

     SECRETARY RUBIO: Yeah, but there’s – I – there’s a bunch that were – that we approved that are
     on the – not even got waivered, just got restarted and we’re doing them. There’s others that we
     have suspended because we didn’t think we were getting the return on the investment. That
     money may be repurposed to a program that works better for the same cost.

     QUESTION: You mentioned that Marines have said – Marines at Guantanamo Bay have said that
     the Tren de Aragua members there —

     SECRETARY RUBIO: Oh, yeah.

     QUESTION: — were more violent than al-Qaida members.

     SECRETARY RUBIO: Not just more violent, very well organized. They were able to communicate
     with each other, the hand signals, all kinds of – I mean, this is a prison gang, so it doesn’t surprise
     me. That’s how the Tren de Aragua originates from, so it doesn’t surprise me that they’re very
     effective in that setting.
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     They’re also very dangerous to keep in our country. When you keep prison gangs in your
     country, they grow, they metastasize. MS-13 was actually a group that was started by Salvadoran
     – either Salvadoran refugees and/or actually people born in the U.S. of Salvadoran descent in
     prisons. MS-13 did not originate in El Salvador; they originated in U.S. prisons and spread down
     and back to El Salvador. Prison gangs are very dangerous because they recruit and then they –
     they almost create academies within the prisons that then metastasize and spill out to the
     general population.

     QUESTION: Have you spoken to the Marines down in Guantanamo, or did they (inaudible)?

     SECRETARY RUBIO: I spoke to one that was in Guantanamo because I know them through a
     family friend, but I’ve also spoken to both Pete Hegseth about this and, if I’m not mistaken,
     Secretary Noem as well. And they both – when I asked them, “Is this true?” they both confirmed
     that’s what their officers and people on the ground were telling them. So actually I heard this
     from a personal acquaintance, and then I actually had it affirmed to me by two members of the
     cabinet.

     QUESTION: (Inaudible.)

     QUESTION: (Inaudible) some of the people sent down to El Salvador to the prison weren’t
     actually gang members, but that, for example, there was a (inaudible) with a tattoo (inaudible)
     supporting autism, people with autism, but it looked like a gang tattoo to the immigration agent
     and then (inaudible) mistakes made. How do you address that?

     SECRETARY RUBIO: Well, ultimately that – all of that was the work of the Department of
     Homeland Security. They’ve identified them. I have confidence in the assessments that they’ve
     made. They’re – but I can’t speak to any one of the individual cases because we’re not involved in
     compiling them. But I have no reason – in fact, I have confidence that they compiled a good list.
     And if we have an opportunity to send more, we will – gang members, MS-13, whatever we can
     send.

     QUESTION: (Inaudible) isn’t it an issue of due process? I mean, was that raised with President
     Bukele? Do these people have a right to appeal in some way?

     SECRETARY RUBIO: Every single one of them was deportable for reasons even beyond the Alien
     Enemies Act. The MS-13 as well. They were all deportable. Many of these people had orders of
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     deportation already and were either in custody or had been recently apprehended. So every
     single person that was sent there was deportable.

     Unfortunately, if they’re of Venezuelan descent, up until this week the Venezuelans were not
     picking anybody up. They were not allowing anybody to go back. They’re the only country in the
     hemisphere that was refusing to accept anyone. They have restarted those suddenly, and
     hopefully they’ll continue and then we won’t have to use El Salvador.

     QUESTION: So why use the Alien Enemies Act if they were deportable anyway? Because that
     just seems to be (inaudible) inviting a challenge to it.

     SECRETARY RUBIO: No, I think the expedited nature of it. These gangs were organized. They
     were – they were presenting very real and immediate risks in a number of communities in our
     country in an organized fashion. We have reason to believe that they were actually being pushed
     towards the United States in large numbers by the regime in Venezuela. You saw just yesterday
     one of them arrived in Venezuela and was greeted on the tarmac as a hero. This is an individual
     that was arrested for – caught on video – attacking police officers in Times Square, (inaudible) to
     law enforcement after doing so. So we believe that in many ways the Venezuelan regime has
     encouraged that flow of these groups towards the United States to create harm in our country.

     QUESTION: The reason I ask is that we know (inaudible) Thursday before we left on Friday
     (inaudible) spoken to President Bukele twice, and this was all arranged, and —

     SECRETARY RUBIO: I’ve spoken to him a number of times.

     QUESTION: I know, but this —

     SECRETARY RUBIO: Not just the only time you were around.

     QUESTION: Well, no, no, no, this was the (inaudible).

     SECRETARY RUBIO: Yes.

     QUESTION: This was the Thursday – Thursday night.

     SECRETARY RUBIO: Yes.

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     QUESTION: So now we’re into Friday, and it became clear with this transfer of diplomatic notes
     from El Salvador and the stuff that the State Department was doing to get the money ready – 20
     grand per person per year for this initial tranche of (inaudible). And it made clear that the
     President was going to go in and sign the AEA declaration, and yet it didn’t come out until after,
     so Saturday. Why? Was that —

     SECRETARY RUBIO: Well, about the AEA declaration, that came from the White House. My
     conversations with President Bukele were as a follow-up and to finalize in a verbal agreement we
     had reached in my visit to El Salvador on my first trip as the Secretary, so it was just sort of
     following up on that and how we were going to proceed with it. We were ready now to execute
     at some point, and we were working through those arrangements with them. And that’s what
     those calls were about. It was just sort of to finalize what we had agreed on.

     QUESTION: So you don’t think that the White House delayed (inaudible)? Because the President
     did sign the AEA declaration on Friday.

     SECRETARY RUBIO: Yeah.

     QUESTION: (Inaudible) it wasn’t (inaudible)?

     SECRETARY RUBIO: I can’t speak to the timing of why they released the one they did. I can tell
     you – and I think you were on that trip – that the agreement to house criminal aliens was reached
     with President Bukele back in February.

     QUESTION: Yes.

     SECRETARY RUBIO: And so we spoke – I’ve spoken to him since then, but obviously this – those
     days that I was there we did because we had a couple of open questions that we wanted answers
     to and that he wanted answers to, and we were finalizing that.

     QUESTION: Mr. Secretary, on Russia, about a month ago when we were in Riyadh, you were first
     starting on speaking with them, and you said something. You said soon enough we’re going to
     find out whether they’re acting in good faith or not, we just need to test it out. So a month later
     where do you stand? Are they (inaudible) —



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     SECRETARY RUBIO: Well, I’m not prepared to pass judgment on it. They’re meeting with us.
     They’re talking to us. They’re making proposals. They’re agreeing to ceasefires but with
     conditions that we need to analyze.

     QUESTION: So is that dragging their feet, actually?

     SECRETARY RUBIO: I wouldn’t – I’m not prepared to characterize it as one or the other. What
     I’ve said almost from the very beginning is, I mean, this war is complex. As you can see, it’s now
     going on three years. And I never said it was going to be simple. There’s a lot of work to be done
     with both sides, in particular the Russian side, which we haven’t talked to in years. So —

     QUESTION: How long do you anticipate these negotiations to continue?

     SECRETARY RUBIO: We’re going to – we’re trying to achieve peace. We’re committed to trying to
     achieve peace as long as it takes. That doesn’t mean that I can guarantee you that there’s going
     to be an agreement in a week or a month. I just can’t put a timeframe on it because it doesn’t
     depend on us. It depends on the Russians and it depends on the Ukrainians. It also depends on
     our partners in Europe who have sanctions that will have to be taken into account, I believe, as
     part of any final deal.

     But I always think it’s progress when at least specifics are being agreed to even though they may
     not be agreeable to both sides, because we get to determine sort of the negotiating posture and
     what the impediments are to peace. So I think when you negotiate, when you sit down with
     people and they – and you talk about these things, they have to memorialize these things in
     documents, at least it begins to give definition to what the impediments to peace are.

     As far as willingness, that’ll be tested when the time comes to sign or if – if we’ve dealt with
     impediments and there’s still resistance from one side or the other, then we’ll know. But we’re
     not at that stage yet.

     QUESTION: Do you anticipate this moving soon beyond the technical level and back to higher-
     level talks?

     SECRETARY RUBIO: Well, I think you have to make more progress on a technical level at this
     point, but we’ll see. We’re going to analyze it. As I said, when they arrive back from Saudi Arabia I
     want to sit and talk to our team that was on the ground and get a better sense how those
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     negotiations went, because a lot of it isn’t just what was written and what was said over 12
     hours. And by the way, we met with the Ukrainians twice as well, so we want to get that
     perspective, which we met with them on Sunday and again on Tuesday, and the Russians on
     Monday. So I need to hear from them directly a little bit more about how it went, and then we’ll
     present that. We’ll meet with the team and we’ll present that to the President, and then decide
     on a path of what the next steps are.

     QUESTION: Can I ask you a different topic? Sudan. We’ve seen certainly an upsurge in violence.
     The army says they have kicked out from the presidential palace. You’ve seen the strike on the
     market. Is there anything diplomatically that the U.S. can (inaudible)?

     SECRETARY RUBIO: We’re engaged in conversations with a number of countries, with Ethiopia,
     with Kenya, in just over the last 72 hours where we’ve been raising that. And we’re very
     concerned that we’re going to backslide to where we were a decade or less ago, and so we don’t
     want to see that. And so we’re trying to figure out and we’ve been engaging with our partners
     about soliciting their ideas about what can we do on this matter to – what contributions can the
     United States make to stabilize it now. There are a number of places we’re doing that. We’re
     doing that with DRC-Rwanda as well. So there are a couple of places like that that we find
     ourselves sort of asking our regional partners how do they believe we can be most helpful and
     engaging, and with our partners outside the region as well. We’ve spoken – I spoke to the foreign
     minister of the UK yesterday about this topic.

     QUESTION: (Inaudible) Iran and the (inaudible) letter (inaudible)?

     SECRETARY RUBIO: Oh, he just asked me that, but you couldn’t hear.

     QUESTION: Oh, sorry.

     SECRETARY RUBIO: No, that’s okay. I just have to – now I have to remember the answer,
     because it has to be identical. (Laughter.)

     QUESTION: You have to (inaudible).

     QUESTION: Give us the details.



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     SECRETARY RUBIO: It’s been publicly reported that the – that the President sent a message. I
     anticipate a response on that, and – but we have nothing else to announce on that. Is that pretty
     much what I told you? All right.

     QUESTION: Can I ask —

     SECRETARY RUBIO: All right. Well, the game is going to start. That’s why. (Laughter.)

     QUESTION: What brought about your hatred for ecotourism?

     SECRETARY RUBIO: I don’t hate ecotourism. It’s just —

     QUESTION: You said —

     SECRETARY RUBIO: No, no, no, no. I said I’m not a fan of ecotourism, but I’m not against it.
     People like to do that stuff. But like, to me, a vacation does not involve snakes and spiders. So
     that’s my view. Maybe that’ll change. I don’t know.

     MS BRUCE: All right.

     SECRETARY RUBIO: All right. Thanks, guys.


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